
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Whether the rights of defendant-appellant under the Fourth and Fourteenth Amendments were violated. Defendant argued that section 180-a of the New York Code of Criminal Procedure is unconstitutional in that it authorizes an unreasonable search and seizure. The Court of Appeals considered this contention and held that the statute does not authorize an unreasonable search and seizure and that, in this case, there was no denial of defendant-appellant’s constitutional rights. [See 18 N Y 2d 603.]
